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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



EDWIN A. SOBONY, II,

              Plaintiff,                         Case No. 2:20-cv-6066
       v.                                        JUDGE EDMUND A. SARGUS, JR.
                                                 Chief Magistrate Judge Elizabeth P. Deavers

MEGAN BRENNAN, et al.,

              Defendants.


                                   OPINION AND ORDER

       This matter is before the Court for consideration of a Report and Recommendation issued

by the Chief Magistrate Judge on November 30, 2020. (ECF No. 3). The time for filing objections

has passed, and no objections have been filed to the Report and Recommendation. Therefore, the

Court ADOPTS the Report and Recommendation. For the reasons set forth in the Report and

Recommendation, the Court DENIES Plaintiff’s Motion for Leave to Proceed in forma pauperis,

(ECF No. 1), and ORDERS Plaintiff to pay the full filing fee of $400.00 within FOURTEEN

(14) DAYS of the issuance of this order if he wishes to proceed.

       IT IS SO ORDERED.


1/11/2021                                 s/Edmund A. Sargus, Jr.
DATE                                      EDMUND A. SARGUS, JR.
                                          UNITED STATES DISTRICT JUDGE
